Case: 1:17-cv-01640 Document #: 177 Filed: 09/12/18 Page 1 of 1 PageID #:6985

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Bill A. Busbice Jr., et al.
                                   Plaintiff,
v.                                                     Case No.: 1:17−cv−01640
                                                       Honorable Andrea R. Wood
Adrian Vuckovich, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 12, 2018:


       MINUTE entry before the Honorable Andrea R. Wood: Motion and Status hearing
held. Pursuant to the discussion held in open court, briefing of the parties' cross−motions
for summary judgment [126], [143], [145] is closed and the motions are taken under
advisement for ruling. Plaintiffs' motion to strike [170] is taken under advisement without
any additional briefing. Status hearing set for 10/24/2018 at 9:00 AM. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
